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                         EXHIBIT 1




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             15                                 SUPERIOR COURT OF THE STATE OF CALIFORNIA
                                                          COUNTY OF RIVERSIDE
             16                                      RIVERSIDE HISTORIC COURTHOUSE

             17        INLAND EMPIRE UNITED, EVELYN                       )                      CaseNo.          CVRI 2 2 0 2 4 2 3
                       ARANA, ELIZABETH AYALA, ARACELI                    )
             18        CALDERA, EDGAR CASTELAN, ROBERT                    )
                       GARCIA, and DAISY LOPEZ,                           )                      VERIFIED PETITION FOR WRIT OF
             19                                                                                  MANDATE AND COMPLAINT FOR
                                                                          )
                                       Petitioners/Plaintiffs,            )                      DECLARATORY AND INJUNCTIVE
            20                                                            )                      RELIEF
                                       V.                                 )                      Unlimited Civil Case
            21                                                            )
            22         RIVERSIDE COUNTY, RIVERSIDE COUNTY )
                       BOARD OF SUPERVISORS, and KEVIN                    )
                       JEFFRIES, KAREN SPIEGEL, CHUCK                     )
            23         WASHINGTON, V. MANUEL PEREZ, and                   )
            24         JEFF HEWITT, in their official capacities as       )
                       members of the Riverside County Board of           )
                       Supervisors, and REBECCA SPENCER, in her )
            25         official capacity as the Riverside County Registrar)
            26         of Voters,                                         )
                                       Respondents/Defendants.
                                                                          )
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              1             Petitioners/Plaintiffs Inland Empire United, Evelyn Arana, Elizabeth Ayala, Araceli

              2     Caldera, Edgar Castelan, Robert Garcia, and Daisy Lopez hereby allege as follows:

              3                                               INTRODUCTION

              4             1.       This action challenges the discriminatory and unrepresentative redistricting plan

              5     adopted by the Riverside County Board of Supervisors in December 2021 ("2021 Redistricting

              6     Plan"). Due to voting behavior and other historical and socioeconomic factors, supervisorial

              7     district lines impact whether Latino voters in Riverside County have equal opportunities to

              8     participate in the political process. To avoid the dilution of the Latino vote and maintain

              9     communities of interest, the Board should have adopted a map that captured geographically

             10     compact Latino communities into two districts where Latino residents formed the majority of the

             11     citizen voting age population ("CVAP"). Instead, the 2021 Redistricting Plan splits up politically

             12     cohesive Latino communities among Districts 1, 2, and 5, shutting out Latino voters in cities like

             13     Jurupa Valley and Moreno Valley from the opportunity to elect candidates of their choice.

             14             2.       The 2021 Redistricting Plan negates the dramatic growth of the County's Latino

             15     community, and the Board adopted the Plan in the face of overwhelming evidence of that it would

             16     have discriminatory effects on Latino voters. The County has only had one Latino supervisor in

             17     its 129-year history, and the County has consistently pursued policies that are unresponsive or

             18     antithetical to the needs of Latino residents. The 2021 Redistricting Plan perpetuates this history

             19     of disenfranchisement and marginalization by abridging Latino residents' fundamental right to

             20     vote on account of their race, color, or membership in a language minority group in violation of

             21     the California Fair and Inclusive Redistricting for Municipalities and Political Subdivisions

             22     ("FAIR MAPS") Act and the equal protection provisions of the California Constitution.

             23             3.       The FAIR MAPS Act is California's most significant redistricting reform in over

             24     half a century. The Act commands districted localities, including counties, to conduct fair and

             25     transparent redistricting processes. For example, counties must attach demographic data to draft

             26     maps, take steps to encourage underrepresented and non-English speaking communities to

             27     participate in the redistricting process, and provide the public with interpretation services upon

             28     request. To promote fair representation of racial and political minorities, the Act also imposes a


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              1     set of mandatory ranked map-drawing criteria that counties have a non-discretionary obligation to

              2     follow and that prioritizes communities over incumbents, political parties, and candidates.

              3             4.      Riverside County failed to comply with either the spirit or the letter of the FAIR

              4     MAPS Act during the 2021 redistricting cycle. The County did not initially attach required

              5     demographic information to its draft redistricting maps and did not consistently provide requested

              6     Spanish interpretation services throughout the redistricting process. The County also disregarded

              7     extensive and robust public input about historically underrepresented Latino communities.

              8             5.       Indeed, the Board of Supervisors explicitly rejected Community Map 1.4, a

              9     community-drafted plan that received wide public support and that showed it was possible to

             10     create two Latino-majority CVAP districts that kept communities of interest whole. Instead, the

             11     Board adopted an incumbency-protection plan that splits up Latino communities of interest and

             12     includes only one Latino-majority district. The County rejected Community Map 1.4 because it

             13     threatened to disrupt the electoral status quo for incumbents, as expressly noted by supervisors

             14     during multiple redistricting hearings. The Board also attempted to justify its decision by

             15     asserting that Community Map 1.4' s district lines split certain municipalities, but this rationale is

             16     inconsistent with the ranked criteria mandated by the FAIR MAPS Act.

             17             6.      Petitioners/Plaintiffs bring this action to redress Respondents' /Defendants'

             18     infringement of the voting rights of Riverside County's Latino residents and to require Riverside

             19     County to adopt a redistricting plan that complies with the FAIR MAPS Act and California

             20     Constitution and provides the County's Latino voters with the opportunity to elect candidates of

             21     their choice.

             22             7.      Petitioners/Plaintiffs seek a peremptory writ of mandate compelling

             23     Respondents/Defendants to adopt a supervisorial plan that comports with the FAIR MAPS Act.

             24     Petitioners/Plaintiffs also seek a declaration that the 2021 Redistricting Plan violates the voting

             25     rights of Latino residents as secured by Article I, Section 2 and Article I, Section 7 of the

             26     California Constitution, and and injunction requiring the adoption of a constitutional plan.

             27                                                   PARTIES

             28             8.      Petitioner/Plaintiff Inland Empire United ("IE United") is a community-


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              1     organizing and coalition-building non-profit that was established in 2017. IE United's mission is

              2     to transform Inland Empire leadership and culture so that it is accountable to and better represents

              3     the identities and values of the region's residents, particularly residents who are members of

              4     historically disenfranchised and underrepresented communities, including Riverside County's

              5     Latino community. To effect intersectional and inclusive change, IE United partners with

              6     community leaders and organizations in Riverside and San Bernardino Counties and focuses on a

              7     set of policy platforms that put racial, gender, and LGBTQ+ equity at center.

              8             9.       IE United's member organizations include Alianza Coachella Valley,

              9     Communities for a New California, Congregations Organized for Prophetic Engagement, Inland

             10     Empire Coalition for Immigrant Justice, Inland Congregations United for Change, Inland Region

             11     Equality Network, Starting Over, Inc., TODEC Legal Center, and Warehouse Worker Resource

             12     Center. All these organizations represent or have members who are Latino voters in Riverside

             13     County, including Latino voters who reside in Districts 1, 2, and 5 of the 2021 Redistricting Plan.

             14     The 2021 Redistricting Plan harms these members by breaking up their communities of interest

             15     and denying them the opportunity to elect candidates of their choice.

             16             10.      IE United devotes time, energy, and resources to ensure accountable leadership in

             17     Riverside County. IE United does this by providing voting and redistricting training to

             18     community partners; collecting, organizing, and synthesizing community members' electoral

             19     preferences; and advocating for electoral districts and representatives that reflect the needs of

             20     partner organizations' constituents and members, many of whom are Latino electors who reside

             21     in Districts 1, 2, and 5 of the 2021 Redistricting Plan.

             22             11.      IE United diverted resources from other efforts to engage community members in

             23     Riverside County's 2021 supervisorial redistricting process and to advocate for the adoption of a

             24     fair and lawful district plan. IE United trained and surveyed constituents of member and partner

             25     organizations about redistricting, purchased and used mapping software, worked with community

             26     members to develop and support Community Map 1.4, and worked with community members to

             27     oppose the adoption of redistricting maps that would dilute Latino voting power, including the

             28     final adopted map.


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              1             12.      The County's adoption of the 2021 Redistricting Plan, which dilutes the Latino

              2     vote and breaks up Latino communities of interest, frustrates IE United's mission and IE United's

              3     efforts to promote legislative representation that is responsive to the County's residents.

              4     The 2021 Redistricting Plan will continue to cause IE United to divert resources from other

              5     projects to develop and support the political power of Latino voters whose voting power is diluted

              6     by the redistricting plan.

              7             13.     Petitioner/Plaintiff Evelyn Arana is a Latina resident and registered voter of

              8     Riverside County. She lives in the City of Corona, part of supervisorial District 2. Ms. Arana is

              9     part of a politically cohesive community of interest that includes Latino residents of Jurupa

             10     Valley and the northwest part of the City of Riverside, and the 2021 Redistricting Plan splits her

             11     community of interest between Districts 1 and 2. She lives in an area where Latino voters are

             12     sufficiently large and geographically compact to constitute the majority of eligible voters in a

             13     district and where, as a result, Latino voters would have the opportunity to elect their preferred

             14     candidates. Under the 2021 Redistricting Plan, however, Ms. Arana's supervisorial candidates of

             15     choice will typically be outvoted by the majority of the electorate in District 2. She is harmed by

             16     the 2021 Redistricting Plan because the map splits her community of interest and denies her the

             17     opportunity to elect candidates of her choice. She has paid taxes to Riverside County within the

             18     past year.

             19             14.     Petitioner/Plaintiff Elizabeth Ayala is a Latina resident and registered voter of

             20     Riverside County. She lives in the northwest portion of the City of Riverside, which is part of

             21     supervisorial District 1. Ms. Ayala is part of a politically cohesive community of interest that

             22     includes Latino residents of Jurupa Valley and the northwest part of the City of Riverside, and the

             23     2021 Redistricting Plan splits her community of interest between Districts 1 and 2. She is harmed

             24     by the 2021 Redistricting Plan because the map fractures her community of interest. She has paid

             25     taxes to Riverside County within the past year.

             26             15.     Petitioner/Plaintiff Araceli Caldera is a Latina resident and registered voter of

             27     Riverside County. Ms. Caldera is civically engaged and organizes on behalf of immigrant rights.

             28     She lives in the City of Moreno Valley, part of supervisorial District 5. She is part of a politically


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              1     cohesive community of interest that includes Latino residents of Perris and Moreno Valley, and

              2     the 2021 Redistricting Plan splits her community of interest between Districts 1 and 5. Ms.

              3     Caldera lives in an area where Latino voters are sufficiently large and geographically compact to

              4     constitute the majority of eligible voters in a district and where, as a result, Latino voters would

              5     have the opportunity to elect their preferred candidates. Under the 2021 Redistricting Plan,

              6     however, Ms. Caldera's supervisorial candidates of choice will typically be outvoted by the

              7     majority of the electorate in District 5. She is harmed by the 2021 Redistricting Plan because the

              8     map splits her community of interest and denies her the opportunity to elect candidates of her

              9     choice. She has paid taxes to Riverside County within the past year.

             10             16.     Petitioner/Plaintiff Edgar Castelan is a Latino resident and registered voter of

             11     Riverside County. Mr. Castelan is civically engaged and serves as an elected official for the

             12     Jurupa Area Recreation and Parks District. He lives in the City of Jurupa Valley, part of

             13     supervisorial District 2. He is part of a politically cohesive community of interest that includes

             14     Latino residents of Jurupa Valley and the northwest part of the City of Riverside, and the 2021

             15     Redistricting Plan splits his community of interest between Districts 1 and 2. Mr. Castelan lives

             16     in an area where Latino voters are sufficiently large and geographically compact to constitute the

             17     majority of eligible voters in a district and where, as a result, Latino voters would have the

             18     opportunity to elect their preferred candidates. Under the 2021 Redistricting Plan, however, Mr.

             19     Castelan's supervisorial candidates of choice will typically be outvoted by the majority of the

             20     electorate in District 2. He is harmed by the 2021 Redistricting Plan because the map splits his

             21     community of interest and denies him the opportunity to elect candidates of his choice. He has

             22     paid taxes to Riverside County within the past year.

             23             17.     Petitioner/Plaintiff Robert Garcia is a Latino resident and registered voter of

             24     Riverside County. Mr. Garcia is civically engaged and serves as a local school board member and

             25     volunteer with his local Lions Club. He lives in the City of Jurupa Valley, part of supervisorial

             26     District 2. He is part of a politically cohesive community of interest that includes Latino residents

             27     of Jurupa Valley and the northwest part of the City of Riverside, and the 2021 Redistricting Plan

             28     splits his community of interest between Districts 1 and 2. Mr. Garcia lives in an area where


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              1     Latino voters are sufficiently large and geographically compact to constitute the majority of

              2     eligible voters in a district and where, as a result, Latino voters would have the opportunity to

              3     elect their preferred candidates. Under the 2021 Redistricting Plan, however, Mr. Garcia's

              4     supervisorial candidates of choice will typically be outvoted by the majority of the electorate in

              5     District 2. He is harmed by the 2021 Redistricting Plan because the map splits his community of

              6     interest and denies him the opportunity to elect candidates of his choice. He has paid taxes to

              7     Riverside County within the past year.

              8             18.     Petitioner/Plaintiff Daisy Lopez is a Latina resident and registered voter of

              9     Riverside County. Ms. Lopez is civically engaged and organizes on behalf of local warehouse

             10     workers. Ms. Lopez lives in the City of Eastvale, part of supervisorial District 2. She is part of a

             11     politically cohesive community of interest that includes Latino residents of Jurupa Valley and the

             12     northwest part of the City of Riverside, and the 2021 Redistricting Plan splits her community of

             13     interest between Districts 1 and 2. Ms. Lopez lives in an area where Latino voters are sufficiently

             14     large and geographically compact to constitute the majority of eligible voters in a district and

             15     where, as a result, Latino voters would have the opportunity to elect their preferred candidates.

             16     Under the 2021 Redistricting Plan, however, Ms. Lopez's supervisorial candidates of choice will

             17     typically be outvoted by the majority of the electorate in District 2. She is harmed by the 2021

             18     map because the map splits her community of interest and denies her the opportunity to elect

             19     candidates of her choice. She has paid taxes to Riverside County within the past year.

             20             19.     Respondent/Defendant Riverside County is a political and geographic subdivision

             21     of the State of California established and operating under the laws of the State of California and

             22     created for the provision of government services.

             23             20.     Respondent/Defendant Riverside County Board of Supervisors is the County's

             24     legislative body and is responsible for establishing County policies and administering Riverside

             25     County government.

             26             21.     Respondents/Defendants Kevin Jeffries, Karen Spiegel, Jeff Hewitt, Chuck

             27     Washington, and V. Manuel Perez are members of the Board of Supervisors of Defendant

             28     Riverside County. Each supervisor is sued in his or her official capacity only. Each supervisor


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              1     resides in the County of Riverside.

              2             22.     Respondent/Defendant Rebecca Spencer is the Riverside County Registrar of

              3     Voters. She is responsible for conducting county elections in Riverside County and is sued in her

              4     official capacity only. She resides in the County of Riverside.

              5                                         JURISDICTION AND VENUE

              6             23.      This Court has jurisdiction over this action pursuant to the California Constitution,

              7     Article VI, § 10, because this case is a cause not given by statute to other trial courts, and under

              8     Code of Civil Procedure§ 1085(a), because this is a petition for writ of mandate. This action is

              9     within the unlimited civil jurisdiction of this Court. Cal. Code Civ. Proc. § 88.

             10             24.     Venue is proper in this Court because respondent/defendant Riverside County,

             11     respondent/defendant Riverside County Board of Supervisors, and respondent/defendant

             12     Riverside County Registrar of Voters are counties or local agencies situated in the County of

             13     Riverside. Cal. Code Civ. Proc.§ 394(a). Venue is also proper in this Court because all

             14     respondents/defendants are situated in the County of Riverside and the injuries suffered by

             15     petitioners/plaintiffs have occurred and, unless enjoined, will continue to occur, in the County of

             16     Riverside. Cal. Code Civ. Proc.§ 395(a).

             17                                          FACTUAL ALLEGATIONS

             18     Riverside County's Latino Population and Communities of Interest

             19             25.     Riverside is the fastest growing county in Southern California, and that growth has

             20     been driven entirely by Latino and other residents of color. According to the 2020 United States

             21     Census, Riverside County has a total population of2,418,185 residents, of whom 49.7% are

             22     Latino. The Latino share of the County's total population grew in the decade prior to the 2021

             23     redistricting process, from 45.5% in 2010 to 49.7% in 2020. During the same period, the

             24     County's non-Latino white ("white") share of the population decreased from 39.8% to 32.6%.

             25             26.      The growth of Riverside County's Latino population is also reflected in its share of

             26     the eligible voting population. The Census Bureau's 2019 5-year American Community Survey

             27     ("ACS"), the most recently available CVAP data during the 2021 redistricting process, shows that

             28     the County had a Latino CVAP of 39.3%. This is a significant increase from the County's Latino


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              1     CVAP share of 28.9% reflected in the 2009 5-year ACS.

              2               27.   Riverside's Latino population is sufficiently large and geographically compact to

              3     constitute over half of the voters in two districts on the west side of the County, a region where

              4     Latino voters, despite voting cohesively, have previously been unable to elect their preferred

              5     candidates. Cohesive Latino communities in this region are concentrated around two areas: (1)

              6     Jurupa Valley, northwest Riverside, Corona, Eastvale, and surrounding areas; and (2) Moreno

              7     Valley, Perris, and other surrounding areas. On the east side of the County, a cohesive Latino

              8     community is concentrated around the eastern Coachella Valley cities of Indio, Coachella,

              9     Thermal, Oasis, Mecca, and Northshore.

             10               28.   Latino residents in each of these three areas not only share racial identity and

             11     geography, but also form communities of interest that are joined by common social and economic

             12     interests. For example, Latino residents of Jurupa Valley, northwest Riverside, Corona, Eastvale,

             13     and surrounding areas ("Jurupa Valley/northwest Riverside community of interest") include many

             14     Spanish-speaking immigrant households of similar socioeconomic status who have organized

             15     around issues of environmental racism in their region, most recently resisting the construction of

             16     a $1.3 million warehouse facility next to a residential neighborhood in northeastern Jurupa

             17     Valley.

             18               29.    The large Spanish-speaking immigrant population in Moreno Valley, Perris, and

             19     surrounding areas ("Moreno Valley/Perris community of interest") is similarly united by a set of

             20     socioeconomic needs, including a desire for greater investment in the residential infrastructure of

             21     their rural-turned-suburban region, which lacks the resources of the adjacent City of Riverside.

             22               30.    In the eastern Coachella Valley, an exceptionally strong community of Spanish-

             23     speaking Latino residents share common goals for investment in affordable housing and

             24     residential infrastructure, such as roads and sidewalks, street lighting, and community parks.

             25     Decennial Redistricting Requirements

             26               31.   Riverside County is geographically divided into five supervisorial districts. Each

             27     district elects one member to the County Board of Supervisors by a vote of eligible voters

             28     residing within the district. The resulting five-member Riverside County Board of Supervisors


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              1     acts as the governing and legislative body for Riverside County. County supervisors are elected to

              2     four-year terms, and the elections for supervisor within each district are staggered.

              3             32.     Following each federal decennial census, the Riverside County Board of

              4     Supervisors must adopt a new supervisorial district map so that, based on the most recent census

              5     data, the map complies with applicable state and federal law. Cal. Elec. Code§ 21500.

              6             33.      The FAIR MAPS Act outlines detailed substantive and procedural requirements

              7     for decennial redistricting. The procedural requirements are meant to ensure transparency and

              8     encourage members of underrepresented communities and non-English speaking communities to

              9     participate in the redistricting process. See Cal. Elec. Code§ 21508(a). To that end, the Act

             10     requires counties to, among other things, host a minimum number of public hearings, provide

             11     interpretation services upon request, and make draft maps with demographic data, including

             12     CVAP data, available to the public. Cal. Elec. Code.§§ 21507.l(a), 21508(b) & (d)(2).

             13             34.      The FAIR MAPs Act also expressly requires county redistricting plans to comply

             14     with Section 2 of the federal Voting Rights Act ("VRA") and the United States and California

             15     Constitutions. Cal. Elec. Code.§ 21500(b).

             16             35.     In addition, the FAIR MAPS Act established a set of non-discretionary ranked

             17     criteria that the County Board of Supervisors must apply when choosing a new supervisorial

             18     district map. In descending order of priority, these criteria are: 1) geographic contiguity of

             19     districts; 2) preserving the geographic integrity of communities of interest; 3) preserving the

             20     geographic integrity of cities and census designated places; 4) easily identifiable and

             21     understandable district boundaries; and 5) geographic compactness of districts. Cal. Elec. Code §

             22     21500(c). Importantly, the Act does not include incumbency as a ranked criterion and is instead

             23     clear that communities of interest do not include relationships with political parties, incumbents,

             24     or political candidates. Elec. Code§ 21500(c)(2).

             25             36.     During the 2021 redistricting cycle, the Riverside County Planning Commission

             26     served as an advisory redistricting commission for the Board and the Executive Office Technical

             27     Committee ("ETOC") was charged with developing draft redistricting maps. The public was also

             28     invited to submit draft redistricting maps. The Planning Commission and the Board held a series



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              1     of redistricting public hearings throughout the late summer and fall of 2021. The Board, however,

              2     retained sole authority to select the final redistricting plan.

              3             37.      Throughout the redistricting process, the County disregarded its legal obligations.

              4     Supervisors openly commented on how the draft maps would affect their candidacy and the

              5     Board prioritized incumbency over the FAIR MAPS Act's mandatory ranked redistricting

              6     criteria. The County also prioritized the geographic integrity of cities and census-designated

              7     places over the geographic integrity of communities of interest, at times erroneously identifying

              8     cities as communities of interest. And the County did not make any efforts to assess its

              9     obligations under the VRA until members of the public, community organizations, and legal

             10     organizations raised the issue. The County consistently disregarded the issue of Latino vote

             11     dilution and ultimately voted for a map that violates the FAIR MAPS Act and the California

             12     Constitution.

             13             38.      The County also failed to take steps to encourage non-English speaking

             14     community members to engage in the redistricting process, as required under the FAIR MAPS

             15     Act. For example, call-in instructions for public comment on draft maps were provided only in

             16     English, and none of the redistricting meeting agendas or agenda attachments were provided in

             17     Spanish. Although members of the public requested Spanish language interpretation throughout

             18     the redistricting process, the County did not consistently make a Spanish interpreter available.

             19     The County's 2021 Supervisorial Redistricting Process

             20             39.      The Planning Commission held its first and second redistricting hearing on August

             21     18, 2021, and September 22, 2021, and the Board held its first redistricting hearing on September

             22     28, 2021. During the Board's first hearing, EOTC staff and members of the Board made

             23     comments indicating that they did not understand the County's obligations under the FAIR

             24     MAPS Act and VRA.

             25             40.     Following the release of state-adjusted decennial census data on September 20,

             26     2021, the EOTC published a series of draft supervisorial district maps, EOTC draft maps A

             27     through D. The published maps did not include CVAP data necessary to assess compliance with

             28     the FAIR MAPS Act and Section 2 of the VRA, and none of the draft maps included Latino-


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              1     majority CVAP districts as required by the FAIR MAPS Act and Section 2 of the VRA.

              2             41.      In connection with the Planning Commission's October 6, 2021 hearing, members

              3     of the public and organizations submitted public comment raising concerns with the County's

              4     failure to include CVAP data with draft maps and the fact that the County had not released any

              5     draft maps that included Latino-majority CVAP districts. The County also received comments

              6     urging the Board to assess the County's obligations under the VRA, including by commissioning

              7     an analysis ofracially polarized voting ("RPV") in the County.

              8             42.     During the October 6 hearing, EOTC staff represented that maps EOTC A-D had

              9     been drawn with the understanding that cities were, by definition, communities of interest. When

             10     EOTC staff was asked by the Planning Commission about the relative levels of importance of the

             11     various redistricting criteria under the FAIR MAPS Act, a staff member responded that "all of

             12     them are equally important." But the Act specifies that preserving the geographic integrity of

             13     communities of interest must be prioritized over preserving cities within a district.

             14             43.     Following the October 6 hearing, and after numerous public comments, the County

             15     re-released maps EOTC A-D with CVAP data attached. The data confirmed for the public that

             16     none of the initial set of draft supervisorial district maps included one, much less two, Latino-

             17     majority CVAP districts. The County also released a new set of draft maps labeled EOTC E

             18     through J and commissioned a study of racially polarized voting in the County.

             19             44.      The public was invited to submit draft maps by November 1, 2021. The Inland

             20     Empire Redistricting Hub ("the Hub"), a coalition of nearly two dozen community-based

             21     organizations brought together by IE United, submitted a draft map that was subsequently revised

             22     and labeled Community Map 1.4. In accordance with state and federal law, the Hub's redistricting

             23     plan prioritized preserving the geographic integrity of communities of interest, including the

             24     largely Latino Jurupa Valley/northwest Riverside, Moreno Valley/Perris, and eastern Coachella

             25     Valley communities of interest. Map 1.4 included two geographically compact districts where

             26     Latino residents constituted the majority of the citizen age voting population. One of these

             27     districts, draft district 2, captured the Jurupa Valley/northwest Riverside community of interest.

             28     The other district, draft district 5, captured the Moreno Valley/Perris community of interest.


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              1             45.      The County released a summary of its RPV analysis on November 4, 2021. The

              2     County's consultants found racially polarized voting countywide and in each district based on a

              3     review of all contested primary and general supervisorial elections from 2014 to 2020 and based

              4     on eight statewide races involving a Latino candidate. The County's RPV analysis further found

              5     that Latino candidates of choice in Riverside County have been unsuccessful due to white bloc

              6     voting for the white candidate of choice. Thus, by November 4, the County knew that it was

              7     possible to adopt a map with two Latino-majority CVAP districts, as demonstrated by

              8     Community Map 1.4, and that a failure to adopt such a map would dilute the vote of Latino

              9     communities on the west side, as confirmed by the County's RPV analysis.

             10             46.      The Board ultimately advanced versions of EOTC F, EOTC H, and Community

             11     Map 1.4 as final maps for consideration. Unlike Community Map 1.4, EOTC F and H included

             12     only one district that was barely over 50% Latino CVAP, draft district 1, centered around the City

             13     of Riverside. EOTC F and H each created this bare-majority Latino district by excluding parts of

             14     cohesive Latino communities on both ends of district 1. This included cutting off all or part of

             15     Jurupa Valley and all or part of Moreno Valley.

             16             47.      In connection with the December 1, 2021 Board redistricting hearing, the County

             17     released a table with a side-by-side comparison of the three final maps. The table showed that

             18     EOTC F, the map that the Board would eventually adopt, split more communities of interest than

             19     Community Map 1.4. The table also showed that Community Map 1.4 was the only map that

             20     created two Latino-majority CVAP districts and that kept both the Jurupa Valley/northwest

             21     Riverside and the Moreno Valley/Perris communities of interest whole. Nonetheless, the table

             22     erroneously listed EOTC F and EOTC H as complying with the VRA because these maps

             23     purportedly contained two "Latino opportunity-to-elect" districts, draft districts 1 and 4. District 4

             24     in all configurations, however, had a Latino citizen voting age population ofno more than 38.7%

             25     and would do nothing to redress the vote dilution injuries of Latino voters on the west side of the

             26     County.

             27             48.     During the final redistricting hearing on December 7, 2021, Board members once

             28     again made statements that confirmed that they were adopting EOTC F and rejecting Community


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              1     Map 1.4 in violation of the FAIR MAPS Act. For example, Supervisor Hewitt commented that he

              2     could not support Community Map 1.4 because it split up more cities than EOTC F, ignoring the

              3     fact that EOTC F split more communities of interest. Supervisor Hewitt stated: "I can't see Map

              4     1.4, which divides up so many cities to try to check off one box, and I will argue with anyone

              5     whether someone with a little bit darker skin can represent any group of people any better than I

              6     can." Supervisor Hewitt also stated that he could not support Community Map 1.4 because it

              7     would make Chuck Washington his supervisor, and Supervisor Spiegel complained that Map 1.4

              8     would place her in a different supervisorial district. The Supervisors' statements indicate they

              9     were rejecting the creation of two Latino-majority CVAP districts because Community Map 1.4

             10     upset the supervisorial representation status quo and had the potential to affect incumbents'

             11     reelection.

             12             49.      The County did not attempt to draw a map that would preserve the Jurupa

             13     Valley/northwest Riverside and Moreno Valley/Perris communities of interest and address the

             14     County's asserted concerns about other aspects of Community Map 1.4. Instead, the Board

             15     selected EOTC F, ignoring its affirmative obligation under the FAIR MAPS Act and the

             16     California Constitution to adopt a redistricting plan that avoided discriminatory results. In doing

             17     so, the County also ignored overwhelming community testimony and other evidence that the 2021

             18     Redistricting Plan would dilute Latino voting strength and disparately impact the voting rights of

             19     Latino residents.

             20     The 2021 Redistricting Plan

             21             50.      The County Board of Supervisors adopted the 2021 Redistricting Plan on

             22     December 14, 2021. The plan took effect for the June 2022 primaries for Districts 2, 4, and 5, and

             23     will take effect in 2024 for elections in Districts 1 and 3.

             24             51.      The 2021 Redistricting Plan cracks the Latino communities of interest in Jurupa

             25     Valley/northwest Riverside and Moreno Valley/Perris so that these communities of interest are

             26     prevented from electing their candidates of choice. The Plan thereby dilutes the voting power of

             27     those Latino communities.

             28             52.      The 2021 Redistricting Plan disparately impacts Latino voters in Riverside County


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              1     by making it harder for them to elect their candidate of choice than it is for similarly situated

              2     white electors to do so.

              3             53.     Rather than preserving the historically underrepresented Jurupa Valley/northwest

              4     Riverside and Moreno Valley/Perris Latino communities of interest within single supervisorial

              5     districts in a manner that would ensure fair and effective representation of those communities, the

              6     2021 Redistricting Plan divides these communities to serve pro-incumbent goals and to prioritize

              7     the geographic integrity of cities and census designated places over the geographic integrity of

              8     these communities of interest. The division of these communities across supervisorial districts is

              9     not justified by any statutorily approved criteria the Board of Supervisors may consider, and must

             10     prioritize in a particular order, when adopting a redistricting plan.

             11             54.     Respondents/Defendants are engaging in, and will continue to engage in, the

             12     illegal expenditure and waste of County funds by conducting elections and operating the Board of

             13     Supervisors pursuant to a redistricting plan that does not comply with the FAIR MAPS Act or the

             14     California Constitution.

             15     Racially Polarized Voting

             16             55.      There is a clear and persistent pattern of racially polarized voting between Latino

             17     and white voters in Riverside County elections. Latino voters in the County are politically

             18     cohesive and tend to prefer the same candidates, and white voters usually vote as a bloc to defeat

             19     Latino voters' preferred candidates. Racially polarized voting exists throughout the County,

             20     including on the west side of the County where an additional Latino-majority district can and

             21     should be drawn.

             22             56.     Examples of Riverside County elections exhibiting racially polarized voting

             23     between Latino and white voters include, but are not limited to, the 2018 District 5 Board of

             24     Supervisors primary, the 2014 District 4 Board of Supervisors primary, and numerous statewide

             25     elections.

             26             57.      The 2018 District 5 Board of Supervisors primary involved five candidates. The

             27     two Latino candidates received a majority of the Latino vote and lost to the top two candidates

             28     preferred by white voters, Russ Bogh and Jeff Hewitt.


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              1             58.     In the 2014 District 4 Board of Supervisors primary, Latino candidate V. Manuel

              2     Perez received 72.3% of the Latino vote and only 28.7% of the white vote, while the non-Latino

              3     candidate who prevailed, John Benoit, received 71 % of the white vote.

              4             59.     Numerous statewide elections have also exhibited racially polarized voting,

              5     including six general elections involving Latino candidates since 2010 and nine of the primary

              6     elections involving Latino candidates since 2010. In each of these statewide races, Latino voters

              7     consistently voted differently than white voters. Moreover, for each of these statewide electoral

              8     contests, racially polarized voting occurred in every supervisorial district in Riverside County.

              9     Latino Residents Do Not Have Equal Opportunities to Participate in County Politics

             10             60.     Although Riverside County has a large and growing Latino population, that

             11     population does not have equal opportunities to participate in the County's political sphere.

             12     Racially polarized voting and a historic pattern continuing into the present day of Latino

             13     discrimination by County government have prevented Latino-preferred candidates from being

             14     elected to the County Board of Supervisors.

             15             61.     In addition to having their political preferences blocked by racially polarized

             16     voting, Riverside County's Latino residents' political participation has also been limited by

             17     numerous instances of government-sanctioned discrimination, both historic and present day, that

             18     have excluded them from equal opportunity to participate in the County's political sphere.

             19             62.     Historically, Latinos in Riverside County and in California generally have been

             20     subject to official discrimination. A de facto system of racial exclusion of Mexican-Americans

             21     was present in California from the 1920s into the 1960s in the form of racially restricted

             22     covenants, segregation in education, and ''whites only" public facilities and businesses. For

             23     example, during the first half of the 20th Century, City of Riverside facilities such as municipal

             24     pools were racially segregated, and restrictive covenants prevented Latinos from buying homes in

             25     many city neighborhoods. Many schools in the city remained segregated until 1965.

             26             63.     More recently, in 2010, the U.S. Department of Justice ("DOJ") sued the County

             27     for failing to provide services to Spanish-speaking voters as required under Section 203 of the

             28     VRA. DOJ election officials monitored Riverside County's November 2008 election, and federal


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              1     observers monitored its 2010 general election for VRA compliance, including provision of

              2     language assistance.

              3             64.      The County's voting practices and procedures have also worked to exclude Latino

              4     voters from political participation. In 2011, when the County redrew supervisorial district

              5     boundary lines, Latino residents made up 45.5% of the County's total population and 28.9% of its

              6     CVAP. Yet the Board of Supervisors adopted a supervisorial boundary map that did not include a

              7     single Latino-majority district. Given racially polarized voting in the County, it was almost

              8     impossible for Latino voters to elect their preferred candidates.

              9             65.      California's majority vote and runoff requirements for Board of Supervisors

             10     elections pose another obstacle to Latino political participation in the County by increasing the

             11     expense and burden to Latino candidates for whom electoral victory is already an uphill battle.

             12             66.     Riverside County's Board of Supervisors elections have also featured subtle racial

             13     appeals. In the 2018 District 4 supervisorial race, Jan Harnik's campaign released a television

             14     commercial that showed Supervisor Perez in front of a bloodied wall. The commercial stated that

             15     "Manuel Perez's policies let murderers, rapists, and child molesters go free" and showed a picture

             16     of a Latino man in an orange jumpsuit and Supervisor Perez accented with blinking police siren

             17     lights. Hamik also distributed mailers featuring images of men of color in police lineups and the

             18     language "Manuel Perez- Wrong on Crime" in large font.

             19             67.      Given that Latino residents have been subjugated to official discrimination,

             20     including voting practices or procedures that enhance the opportunity for discrimination against

             21     Latino voters and subjugate their voting preferences, it is not surprising that Latino candidates

             22     have had almost no success in supervisorial district races. Despite Riverside County's large

             23     Latino population, in the County's 129-year history there has only ever been one Latino member

             24     of the Riverside County Board of Supervisors.

             25             68.      That Latino supervisor, V. Manuel Perez, did not join the Board until 2017, and he

             26     did so only by virtue of an appointment by the governor of California to fill an out-of-cycle

             27     vacancy in District 4. Supervisor Perez had previously been defeated in a 2014 District 4

             28     supervisorial race infected with racially polarized voting. Supervisor Perez was elected to the


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              1     Board in 2018, and his incumbency played an unusually important role in his election.

              2             69.     From 2014 to 2020, other Latino candidates ran for Riverside County's Board of

              3     Supervisors, but none were successful.

              4             70.     Because Riverside County's Latino residents do not have equitable opportunities

              5     to participate in the political process, the Riverside County Board of Supervisors is unresponsive

              6     to the needs of Riverside County's Latino community. Rather than serving these constituents, the

              7     Board of Supervisors has pursued projects demonstrating disregard for the distinct needs and

              8     policy preferences of its Latino constituents and has been sued multiple times for discriminatory

              9     and inhumane programs impacting Latino residents.

             10             71.     For example, the County was sued in 1992 when it chose to erect the "Mecca

             11     Migrant Farmworker Campground," a complex of tent-like structures widely regarded as

             12     inhumane and demeaning, rather than seeking federal funds to construct affordable housing for

             13     largely Latino seasonal migrant farmworkers in the Coachella Valley. A decade after the

             14     discrimination lawsuit was filed, the County finally funded a public restroom facility for seasonal

             15     farmworkers in Mecca. The County, however, has done little else to address the housing needs

             16     that remain for Latino workers in the Coachella Valley. The County's failure to provide needed

             17     housing resources directly impacts the County's Latino seasonal workers who reside in County

             18     cities outside the Coachella Valley, such as Perris, and is perceived as anti-Latino by many of the

             19     County's Latino residents.

             20             72.      In 2011, a Jurupa Valley based environmental group sued the County after it

             21     approved a 65-acre industrial complex in a primarily Latino residential area of Mira Loma.

             22     Residents there, already subject to some of the highest pollution in the country, had organized for

             23     nearly ten years to keep the project out of their neighborhood. Yet, despite contentious public

             24     testimony opposing the development, the Board of Supervisors ultimately approved the full

             25     project. The lawsuit highlighted the County's failure to analyze and mitigate the project's air

             26     quality and noise impacts on Mira Lorna's Latino residents; such failure follows a pattern since

             27     the 1990s of County approval for warehouse projects in the Jurupa Valley region without regard

             28     for their harmful health impacts to the region's primarily Latino community.


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              1             73.     More recently, in 2019, the County settled a lawsuit over the County's "Youth

              2     Accountability Teams" program, an onerous juvenile diversion effort that disproportionately

              3     referred Latino youth to the criminal system. Riverside County had funded this program since

              4     2001.

              5             74.      The Board of Supervisors also consistently allocates funding in manners contrary

              6     to the needs of its Latino residents. As one example, the Board recently increased law

              7     enforcement funding in the face of high-profile public reports highlighting its district attorney and

              8     sheriffs anti-Latino policing practices, such as prosecuting Latino youth as adults at rates nearly

              9     ten times as high as their white counterparts. Meanwhile, the County Housing Authority has a

             10     policy of denying or terminating rental assistance for individuals with criminal records, a policy

             11     that disproportionately affects Latino residents. In 2019, the County settled another lawsuit over

             12     its public assistance program, which had been unlawfully denying aid to unemployed and

             13     differently abled residents for years before the lawsuit. The County had illegally been denying aid

             14     to those with criminal records, another policy disproportionately affecting Latino residents. These

             15     examples are not exhaustive.

             16             75.     Riverside County's Latino residents predictably bear the present effects of this

             17     longstanding societal, economic, and educational discrimination in numerous respects, and white

             18     residents of Riverside County fare better than Riverside County's Latino residents on several

             19     measures of socioeconomic status as shown by 2020 5-year ACS data.

             20             76.     Riverside County's Latino residents are more likely to live in poverty than white

             21     residents. Moreover, the median household income for white residents in the County was

             22     $78,847, while the median household income for Latinos in the County was $61,637.

             23             77.     Riverside County's Latino residents are also less likely to have health insurance

             24     coverage. Nearly 12% of Latino residents in Riverside County have no health insurance,

             25     compared to 7% of white residents.

             26             78.      There is a significant gap in educational achievement between Riverside County's

             27     Latino and white residents. Approximately one third of Riverside County's Latino residents have

             28     not received a high school diploma, compared to only 12.7% of the County's white residents.


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              1     Only 11.5% of the County's Latino residents have received a bachelor's degree or higher,

              2     compared to 24% of the County's white residents.

              3             79.     Riverside County's Latino residents are far less likely to live in a healthy built

              4     environment than the County's white residents. They are more likely to live in proximity to

              5     hazardous sites, such as federal superfund or military evaluation sites, and to have their

              6     residences exposed to toxic releases from emitting facilities. They also are less likely to have

              7     access to greenspace.
              8                               FIRST CAUSE OF ACTION
                                     WRIT OF MANDATE (Cal. Code Civ. Proc. § 1085)
              9              FOR VIOLATIONS OF FAIR MAPS ACT (Cal. Elec. Code§§ 21500-21509)
             10                      (All Petitioners/Plaintiffs Against All Respondents/Defendants)

             11             80.     Petitioners/Plaintiffs incorporate by reference the allegations set forth in the

             12     previous paragraphs.

             13             81.     Petitioners/Plaintiffs have public interest standing to seek writ relief in that the

             14     claims raised by this Petition/Complaint are based on public rights and the object of this action is

             15     to enforce a public duty.

             16             82.     Petitioners/Plaintiffs also have a beneficial interest in the issuance of relief sought

             17     by the Petition/Complaint, in that the individual Petitioners/Plaintiffs' and IE United's member-

             18     organizations' members' voting power and rights are directly affected by the 2021 Redistricting

             19     Plan, and IE United's mission and resources are impacted by the Plan.

             20             83.     Respondents/Defendants have, and at all relevant times have had, clear, present,

             21     and ministerial duties to comply with California's FAIR MAPS Act and to adopt and implement a

             22     redistricting plan that complies with the Act.

             23             84.     Despite their ability to perform these ministerial duties, Respondents/Defendants

             24     have adopted a redistricting plan, and will continue to implement that plan if not promptly

             25     corrected, that violates the FAIR MAPS Act.

             26             85.      California's FAIR MAPS Act requires counties that elect members of the county

             27     board of supervisors by district to draw new supervisorial district boundaries after each federal

             28     decennial census, and to do so pursuant to a set of mandatory criteria. First, the FAIR MAPS Act


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              1     requires that supervisorial districts be substantially equal in population and otherwise comply

              2     with the United States Constitution, the California Constitution, and the federal Voting Rights

              3     Act of 1965, as amended, 52 U.S.C. § 10301, et seq. Second, the Act requires counties to follow a

              4     set of priority-ordered criteria when adopting their supervisorial district boundaries. Preserving

              5     the geographic integrity of communities of interest must be the second-most important of these

              6     criteria, superseded only by geographic contiguity. The Act specifies that communities of interest

              7     do not include relationships with incumbents, and the Act does not list incumbency as a

              8     mandatory criterion for redistricting decisions.

              9             86.     Riverside County is a county that elects members of the county's board of

             10     supervisors by district. The 2021 Redistricting Plan violates the FAIR MAPS Act in four ways.

             11     Each of these four violations alleged below provides an alternative and independently sufficient

             12     theory establishing a violation of the FAIR MAPS Act. None of these theories is itself a necessary

             13     element of Plaintiffs/Petitioners' FAIR MAPS Act claim.

             14     FAIR MAPS Act Violation 1: Failure to Comply with California Constitution

             15             87.     First, the 2021 Redistricting Plan violates the FAIR MAPS Act because it does not

             16     comply with the California Constitution's equal protection guarantees. Under those provisions of

             17     the California Constitution, government actions with a disparate impact on the fundamental rights

             18     of a suspect class, such as Latinos, are subject to strict constitutional scrutiny.

             19             88.      The 2021 Redistricting Plan disparately impacts Latino voters' ability to elect

             20     candidates of their choice to the County Board of Supervisors without any compelling

             21     government purpose.

             22             89.      The 2021 Redistricting Plan splits the primarily Latino Jurupa Valley/northwest

             23     Riverside and Moreno Valley/Perris communities of interest. Latino voters in these communities

             24     are sufficiently numerous and geographically compact to constitute the majority of the CVAP in

             25     two properly apportioned districts.

             26             90.     Racially polarized voting persists in elections of members to the Riverside County

             27     Board of Supervisors. A white majority of voters typically vote as a bloc such that the Latino

             28     voters' candidates of choice are defeated.


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              1             91.      The 2021 Redistricting Plan results in the denial or abridgment, on account of race,

              2     color, or ethnicity, of the voting rights of Riverside County's eligible Latino voters residing in the

              3     Jurupa Valley-Riverside and Perris-Moreno Valley communities of interest, by diluting their

              4     voting strength. As compared to the voting power of white voters, the 2021 Redistricting Plan

              5     impairs the ability of Latino voters in these communities of interest to elect candidates of their

              6     choice. The 2021 Redistricting Plan gives Latino voters in Riverside County less opportunity to

              7     participate in the political process than similarly situated non-Latino members of the electorate.

              8             92.      The division of the Jurupa Valley/northeast Riverside and Moreno Valley/Perris

              9     Latino communities of interest in Riverside County's 2021 Redistricting Plan does not serve a

             10     compelling government purpose. The division of these communities of interest is not necessary to

             11     ensure substantial population equality between districts, nor to ensure districts' geographic

             12     contiguity, nor to align with the ranked priorities the California legislature has required boards of

             13     supervisors to follow when redistricting. In fact, the division of these communities of interest was

             14     driven by a purpose-protecting incumbents-that the California legislature excluded from its list

             15     of mandatory ranked redistricting criteria. Moreover, the division of these communities of interest

             16     directly contradicts the California legislature's directive that counties prioritize preserving

             17     communities of interest within a single district.

             18     FAIR MAPS Act Violation 2: Failure to Comply with the Federal Voting Rights Act

             19             93.      Second, the 2021 Redistricting Plan violates the FAIR MAPS Act because it does

             20     not comply with Section 2 of the federal Voting Rights Act. The 2021 Redistricting Plan splits

             21     the primarily Latino Jurupa Valley/northwest Riverside and Moreno Valley/Perris communities

             22     of interest. Latino voters in these communities are sufficiently numerous and geographically

             23     compact to constitute the majority of the CVAP in two properly apportioned districts.

             24             94.     Racially polarized voting, in which a white majority of voters typically vote as a

             25     bloc such that the Latino voters' candidates of choice are defeated, persists in elections of

             26     members to the Riverside County Board of Supervisors.

             27             95.      Consequently, Riverside County's 2021 Redistricting Plan dilutes Latino voting

             28     strength and denies or abridges the rights of Latino voters in Riverside County on account of their


                                                                        22
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              1     race, color, or membership in a language minority group. By diluting and abridging Latino voting

              2     rights, the County's failure to adopt a redistricting plan with a second majority Latino CVAP

              3     district impairs the ability of Latino voters to elect candidates of their choice and gives them less

              4     opportunity than other members of the electorate to participate in the political process.

              5     FAIR MAPS Act Violation 3: Failure to Use Mandatory Ranked Criteria

              6             96.      Third, Riverside County's 2021 redistricting plan violates the FAIR MAPS Act

              7     because Respondents/Defendants did not apply the Act's mandatory ranked criteria in the order of

              8     priority required by the Act. Instead, the County prioritized lower-ranked criteria, such as

              9     preserving the geographic integrity of cities, above maintaining within a single district

             10     communities of interest whose fair and effective representation requires such preservation. By its

             11     own admission, the County adopted a redistricting plan that splits more communities of interest

             12     than Community Map 1.4, and the County offered no reasoned analysis as to why such divisions

             13     were necessary or superior to those proposed in Community Map 1.4 other than that Community

             14     Map 1.4 split more cities across district lines. The FAIR MAPS Act, however, imposed a

             15     mandatory duty on the County to prioritize communities of interest over such municipal

             16     boundaries.

             17     FAIR MAPS Act Violation 4: Improper Consideration of Incumbency

             18             97.     Fourth, Riverside County's 2021 redistricting plan violates the FAIR MAPS Act

             19     because Respondents/Defendants prioritized incumbency protection over complying with the

             20     FAIR MAPS Act's mandatory ranked criteria. Protecting incumbents is not one of the mandatory

             21     and ranked criteria the Act requires county boards of supervisors to follow when redistricting, and

             22     the Act explicitly states that communities of interest do not include incumbency. Yet supervisors

             23     repeatedly voiced concerns about how draft districts would impact their constituencies,

             24     announced opposition to Community Map 1.4 specifically because of its potential impacts on

             25     incumbents, and failed to provide a reasoned analysis for rejecting Community Map 1.4, whose

             26     two majority Latino CVAP districts had the potential to disrupt the status quo and prevent

             27     incumbent reelection.

             28             98.     Respondents/Defendants, collectively and individually, are responsible for


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              1     imposing, applying, maintaining, and/or failing to prevent the use of Riverside County's 2021

              2     Redistricting Plan for electing members of the Board of Supervisors.

              3             99.     Petitioners/Plaintiffs have no plain, speedy, or adequate remedy in the ordinary

              4     course of law to compel Respondents/Defendants to perform their mandatory duty to comply with

              5     the FAIR MAPS Act.

              6             100.     There are no administrative remedies available to Petitioners/Plaintiffs to obtain

              7     the requested relief.

              8             101.    Respondents/Defendants' wrongful conduct has caused, is causing, and unless

              9     enjoined will continue to cause irreparable injury to Petitioners/Plaintiffs. Petitioners/Plaintiffs

             10     have no adequate remedy at law for the injury they have suffered, are suffering, and will continue

             11     to suffer unless Defendants' wrongful conduct is enjoined.

             12                                    SECOND CAUSE OF ACTION
                                            CALIFORNIA CONSTITUTION (Article I, §§ 2 & 7)
             13
                                     (All Petitioners/Plaintiffs Against All Respondents/Defendants)
             14
                            102.    Petitioners/Plaintiffs incorporate by reference the allegations of fact set forth in the
             15
                    previous paragraphs.
             16
                            103.    Under the California Constitution's equal protection provisions, government action
             17
                    with a disparate impact on the fundamental rights of a suspect class, such as Latinos, is subject to
             18
                    strict scrutiny. Here, Riverside County's 2021 Redistricting Plan disparately impacts Latino
             19
                    voters' ability to elect candidates of their choice to the County Board of Supervisors without any
             20
                    compelling government purpose.
             21

             22             104.     The 2021 Redistricting Plan splits the primarily Latino Jurupa Valley/northwest

             23     Riverside and Moreno Valley/Perris communities of interest. Latino voters in these communities

             24     are sufficiently numerous and geographically compact to constitute the majority of the CVAP in

             25     two properly apportioned districts.

             26             105.    Racially polarized voting persists in elections of members to the Riverside County

             27     Board of Supervisors. A white majority of voters typically vote as a bloc such that the Latino

             28     voters' candidates of choice are defeated.


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              1             106.      Riverside County's 2021 Redistricting Plan results in the denial or abridgment, on

              2     account ofrace or color, of the voting rights of Riverside County's eligible Latino voters residing

              3     in the Jurupa Valley/Riverside and Moreno Valley/Perris communities of interest, by diluting

              4     their voting strength. As compared to the voting power of white voters, the 2021 Redistricting

              5     Plan impairs the ability of Latino voters in these communities of interest to elect candidates of

              6     their choice. The 2021 Redistricting Plan gives Latino voters in Riverside County less

              7     opportunity to participate in the political process than similarly situated non-Latino members of

              8     the electorate.

              9             107.      The division of the Jurupa Valley/northwest Riverside and Perris/Moreno Valley

             10     Latino communities of interest in Riverside County's 2021 Redistricting Plan does not serve a

             11     compelling government purpose. The division of these communities of interest is not necessary to

             12     ensure substantial population equality between districts, nor to ensure districts' geographic

             13     contiguity, nor to align with the ranked priorities the California legislature has required boards of

             14     supervisors to follow when redistricting. In fact, the division of these communities of interest was

             15     driven by a purpose-protecting incumbents- that the California legislature excluded from its

             16     list of mandatory ranked redistricting criteria. Moreover, the division of these communities of

             17     interest directly contradicts the California legislature's directive that counties prioritize preserving

             18     communities of interest within a single district.

             19             108.      Respondents/Defendants, collectively and individually, are responsible for

             20     imposing, applying, maintaining, and/or failing to prevent the use of Riverside County's 2021

             21     Redistricting Plan for electing members of the Board of Supervisors.

             22             109.      An actual controversy has arisen and now exists between the parties relating to the

             23     legal rights and duties of all Petitioners/Plaintiffs and Respondents/Defendants for which all

             24     Petitioners/Plaintiffs desire a declaration of rights.

             25             110.      Respondents/Defendants' wrongful conduct has caused, is causing, and unless

             26     enjoined will continue to cause irreparable injury to Petitioners/Plaintiffs. Petitioners/Plaintiffs

             27     have no adequate remedy at law for the injury they have suffered, are suffering, and will continue

             28     to suffer unless Respondents/Defendants' wrongful conduct is enjoined.


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              1

              2                                              PRAYER FOR RELIEF

              3             Wherefore, as remedies for the causes of action asserted above, Petitioners/Plaintiffs

              4     request judgment for Petitioners/Plaintiffs for:

              5             (1)     A peremptory writ of mandate compelling Respondents/Defendants to adopt a

              6     supervisorial district map that comports with the FAIR MAPS Act, including by ensuring that

              7     neither the Latino community of interest centered around northwest Riverside and Jurupa Valley

              8     nor the Latino community of interest centered around Perris and Moreno Valley is split across

              9     different supervisorial districts;

             10            (2)      A declaratory judgment that Riverside County's 2021 redistricting plan violates

             11     the FAIR MAPS Act;

             12            (3)      Preliminary and permanent injunctive relief requiring the adoption of a

             13     supervisorial district map that comports with Article I, Section 2 and Article I, Section 7 of the

             14     California Constitution, including by ensuring that neither the Latino community of interest

             15     centered around northwest Riverside and Jurupa Valley nor the Latino community of interest

             16     centered around Perris and Moreno Valley is split across different supervisorial districts;

             17            (4)      A declaratory judgment that Riverside County's 2021 redistricting plan violates

             18     the voting rights of Petitioners/Plaintiffs as secured by Article I, Section 2 and Article I, Section 7

             19     of the California Constitution;

             20             (5)     Attorneys' fees and costs of this action pursuant to Cal. Code of Civil Procedure

             21     §1021.5 and other applicable law;

             22             (6)      Such other and further relief as the nature of Petitioners/Plaintiffs' cause may

             23     warrant.

             24
                    Dated: June 14, 2022                            MATTHEW J. MURRAY
             25
                                                                    BRONWEN B. O'HERIN
             26                                                     ALTSHULER BERZON LLP

             27
                                                                    By: Isl Bronwen B. O'Herin
             28
                                                                    Attorneys for Plaintiffs Petitioners/Plaintiffs Inland

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              1                                                    Empire United, Evelyn Arana, Elizabeth Ayala,
                                                                   Edgar Castelan, and Robert Garcia
              2
                                                                   JULIA A. GOMEZ
              3                                                    PETER BIBRING
                                                                   MELISSA GOODMAN
              4                                                    ACLU FOUNDATION OF SOUTHERN
                                                                   CALIFORNIA
              5
                                                                   MOE KESHAV ARZI
              6                                                    SHEPPARD, MULLIN, RICHTER &
                                                                   HAMPTONLLP
              7
                                                                   Attorneys for Petitioners/Plaintiffs Araceli Caldera
              8                                                    and Daisy Lopez

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               1                                               VERIFICATION

              2             I am the Executive Director of Inland Empire United, a party to this action, and am

              3     authorized to make this verification on its behalf. I have read the foregoing Verified Petition for

              4     Writ of Mandate and Complaint for Declaratory and Injunctive Relief and know its contents. The

              5     allegations in the Petition are true to my own knowledge, except where they are made on

              6     information and belief, in which case I am informed and believe them to be true. I declare under

              7     penalty of perjury of the laws of the State of California that the foregoing is true and correct.

              8

              9             Executed on June 14, 2022, in - - - - -Corona, California- - - - - - -

             10

             11
                                                                                Michael Gomez Daly, Executive Director
             12                                                                                  Inland Empire United
             13

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